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RE: Melinda Smith's idea 9

Evans, Eric (CarnCorp) <EEvans@carnival.com>

Wed 8/12/2015 7:27 PM

To: Marty Wilcox <mwilcox@marinesonic.com>
Ce: 'mps smith' <mps1561@hotmail.com>

 

Marty,
Thanks for your interest. I will briefly discuss with our HESS staff and get back to you soon.

Regards,
Eric

From: Marty Wilcox [mailto:mwilcox@marinesonic.com]
Sent: Wednesday, August 12, 2015 4:45 PM

To: Evans, Eric (CarnCorp)

Ce: 'mps smith’

Subject: Melinda Smith's idea

Eric,

Melinda Smith came to us with an idea for solving the frightening problem of a “passenger overboard” on a
cruise ship. She has established a priority date for patent application and we are helping her with technical

guidance.

Her system consists of a smal] device worn on the wrist or pinned to the clothing, which when activated by
the act of falling into the water, would broadcast a signal which would be received by equipment on the ship,
triggering the “passenger overboard” alarm on the bridge. The system would broadcast a code which would
identify the particular device worn by the passenger, so that their identity would be immediately known. The
location of the passenger in the water would be known well enough to indicate to the captain which direction
to start a “Williamson turn” to initiate the rescue process. If the passenger is still at or near the surface, the
device will continue to emit a signal which will assist with location until rescue is achieved.

We would like to know if such a system is of interest to your company, and if so, we can establish a Non-
Disclosure Agreement to enable further discussions.

Sincerely,
Marty Wilcox

Martin H, Wilcox

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Atlas North America

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